Case 2:24-cv-04055-JXN-LDW                Document 261    Filed 05/13/25     Page 1 of 2 PageID:
                                                2383



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA, et                      Civil Action No.
  al.,
                                                    24-4055 (JXN) (LDW)
                   Plaintiffs,

  v.                                                ORDER ADMITTING
                                                    MALISA MCPHERSON
                                                    PRO HAC VICE
  APPLE INC.,

                   Defendant.


        THIS MATTER having been presented to the Court by Plaintiff State of New Jersey, by

and through the Attorney General Matthew J. Platkin (“New Jersey”), for the entry of an Order

pursuant to Local Civil Rule 101.1(c) admitting pro hac vice counsel Malisa McPherson

representing the Plaintiff State of Oklahoma, by and through its Attorney General; and New Jersey

having agreed to act as local counsel; and Defendant Apple Inc. having consented to the pro hac

admission of the above-named counsel for the Plaintiff State of Oklahoma; and for good cause

having been shown:

        IT IS on this day, May 13, 2025:

        ORDERED that Malisa McPherson is hereby admitted pro hac vice for purposes of

representing the State of Oklahoma in this matter; and it is further

        ORDERED that Malisa McPherson shall abide by all rules of this Court, including all

disciplinary rules, and shall notify the Court immediately of any matter affecting her standing at

the bar of any court; and it is further

        ORDERED that Andrew F. Esoldi or another member the Office of the Attorney General

of the State of New Jersey admitted to practice in the District of New Jersey as local counsel shall
Case 2:24-cv-04055-JXN-LDW            Document 261        Filed 05/13/25      Page 2 of 2 PageID:
                                            2384



(a) be attorney of record in this case in accordance with Local Civil Rule 101.1(c); (b) be served

with all papers in this action and such service shall be deemed sufficient service upon counsel; (c)

sign all pleadings, briefs, and other papers submitted to this Court; (d) appear at all proceedings;

and (e) be responsible for the conduct of the cause and counsel in this matter; and it is further

       ORDERED that Malisa McPherson shall comply with her obligations with respect to the

New Jersey Lawyers’ Fund for Client Protection, if any, as provided by New Jersey Court Rules

1:21-2(a)(1) and 1:28-2(a); and it is further

       ORDERED that Malisa McPherson shall pay $250.00 to the Clerk of the United States

District Court for the District of New Jersey for admission pro hac vice in accordance with Local

Civil Rule 101.1(c)(3).

                                                 s/ Leda Dunn Wettre
                                                Hon. Leda Dunn Wettre
                                                United States Magistrate Judge




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